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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO


BETTY FRANKLIN,

       Plaintiff,

v.                                                          CIV 12-1167 KBM

UNITED STATES OF AMERICA,

       Defendant.



                                FINAL JUDGMENT
       In accordance with the Findings of Fact and Conclusions of Law entered this day

following a non-jury trial held June 10-13, 2014, the Court hereby enters final judgment

under Rule 58 of the Federal Rules of Civil Procedure in favor of Defendant and against

Plaintiff and dismisses this action with prejudice.




                                   ________________________________________
                                   UNITED STATES CHIEF MAGISTRATE JUDGE
                                   Presiding by Consent
